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 8     Attorneys for Plaintiff
 9                                UNITED STATES DISTRICT COURT
10                                          DISTRICT OF NEVADA
11
        JESSYCA GOODMAN GARCIA, an Individual;               CASE NO.:
12
                              Plaintiff,
13
        vs.                                                               COMPLAINT
14
15      MICAH GILL, an Individual; UNITED STATES                  JURY TRIAL DEMANDED
        OF AMERICA; MALCO ENTERPRISES OF
16      NEVADA, INC. A Domestic Corporation d/b/a
        BUDGET CAR AND TRUCK RENTAL OF
17      LAS VEGAS AND/OR d/b/a BUDGET LAS
        VEGAS; DOES I through X, inclusive; and ROE
18      BUSINESS ENTITIES XI through XX inclusive,
19                            Defendants.
20
              Comes now Plaintiff, JESSYCA GOODMAN GARCIA, by and through her attorneys,
21
       Peter S. Christiansen, Esq., R. Todd Terry, Esq., and Whitney J. Barrett, Esq. of Christiansen
22
       Trial Lawyers, and for her Complaint against Defendants, complain and allege as follows:
23
                                           NATURE OF THE ACTION
24
              1.      This action arises under the Federal Tort Claims Act, Sections 2671 through 2680
25
       of Title 28 of the United States Code for money damages, for personal injury and loss of property
26
       against the Defendants, and each of them; said causes of action for damages alleged in this
27
       Complaint are based upon the negligent or wrongful acts or omissions of a Federal Employee
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 1     within the purview of the Federal Tort Claims Act; to wit, Micah Gill, who at all times mentioned
 2     herein was a member of the United States Army and an employee of the United States
 3     Government and at the time of the incident of August 02, 2016, as more particularly alleged
 4     hereinafter was acting within the course and scope of his office or employment as a member of
 5     the United States Army.
 6                                      DEMAND FOR JURY TRIAL
 7            2.      Plaintiff demands a jury trial in the instant action.
 8                                      JURISDICTION AND VENUE
 9            3.      This Court is vested with jurisdiction pursuant to Section 1346(b) of Title 28 of
10     the United States Code.
11            4.      This Federal District Court has jurisdiction over this Complaint as authorized
12     under the Federal Tort Claims Act of August 2, 1946, 60 Stat 843; 28 USC §§ 1346(b), 2671 et
13     seq.
14            5.      Venue is proper in the District of Nevada pursuant to 28 USC § 1391(b) as the
15     events or omissions giving rise to the claims at issue arose in this district.
16                                                  PARTIES
17            6.      Plaintiff JESSYCA GOODMAN GARCIA is a resident of the State of Nevada,
18     County of Clark.
19            7.      At all times herein Defendant MICAH GILL was an is a resident of the State of
20     Nevada, County of Washoe.
21            8.      At all times herein Defendant UNITED STATES OF AMERICA was in control
22     of the UNITED STATES ARMY NATIONAL GUARD (ARMY herein), a government entity of
23     the United States of America, branches of which may be found in Las Vegas, Clark County,
24     Nevada.
25            9.      The Defendant, UNITED STATES OF AMERICA may be served by serving a
26     copy of the summons and complaint on the United States District Attorney, and by sending a copy
27     of the summons and complaint by registered mail to the Attorney General of the United States,
28     Washington, D.C


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 1            10.     At all times herein, upon information and belief, Defendant MALCO
 2     ENTERPRISES OF NEVADA, INC., a Domestic Corporation d/b/a BUDGET CAR AND
 3     TRUCK RENTAL OF LAS VEGAS and/or BUDGET LAS VEGAS, was and is a company
 4     authorized to conduct business in Clark County, Nevada.
 5            11.     That the true names and capacities, whether individual, corporate, agents,
 6     association or otherwise of the Defendants, DOES I through X and/or ROE BUSINESS
 7     ENTITIES XI through XX, inclusive, are unknown to Plaintiff, who therefore sues said
 8     Defendants by such fictitious names. Plaintiff is informed and believes, and thereupon alleges,
 9     that each of the Defendants designated herein as DOES and/or ROE BUSINESS ENTITIES are
10     responsible in some manner for the events and happenings herein referred to, and in some manner
11     proximately caused the injuries and damages thereby to the Plaintiff, as herein alleged; that the
12     Plaintiff will ask leave of this Court to amend this Complaint to insert the true names and
13     capacities of said Defendants, DOES I through X and/or ROE BUSINESS ENTITIES XI through
14     XX, inclusive, when the same have been ascertained by the Plaintiff, together with appropriate
15     charging allegations, and to join such Defendants in this action.
16            12.     Further, that the true names and capacities of the Defendants DOES I through X
17     and/or ROE BUSINESS ENTITIES XI through XX are unknown to Plaintiff who, therefore, sues
18     said Defendants by said fictitious names.
19                        FACTS COMMON TO ALL CAUSES OF ACTIONS
20            13.     On or about August 2, 2016, Plaintiff JESSYCA GOODMAN GARCIA operating
21     a 2013 Chrysler 200 Touring and was stopped for pedestrians in the right turn lane at the
22     intersection of Cheyenne and Martin Luther King, Jr., which is located in Clark County, Nevada.
23            14.     On or about August 2, 2016, Defendant GILL was operating a rental car owned
24     by Defendant MALCO ENTERPRISES OF NEVADA, INC. d/b/a BUDGET CAR AND
25     TRUCK RENTAL OF LAS VEGAS and/or BUDGET LAS VEGAS (“BUDGET”) directly
26     behind Plaintiff’s vehicle, when he recklessly rear-ended the vehicle being operated by Plaintiff.
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 1             15.     At the time of the accident, Defendant GILL was wearing fatigues and was driving
 2     what appeared to be a civilian vehicle. At no time did he indicate to Plaintiff that he was on duty
 3     or otherwise in the course and scope of his employment while operating the BUDGET vehicle.
 4             16.     Upon information and belief, police responded to the scene, but did not issue a
 5     traffic citation or otherwise prepare a traffic accident report.
 6             17.     In response to Counsel’s letter of representation, on December 29, 2016, USAA
 7     indicated “Budget Rental is the primary insurer for this loss. The person handling the claim for
 8     Budget Rental is George Mallow and he can be reached at …”. See Exhibit 1, which by this
 9     reference is incorporated herein as though set forth in full.
10             18.     There was no representation that GILL was in the course and scope of his
11     employment with the ARMY at the time of the accident. Id.
12             19.     Defendant BUDGET did not respond to the letter of representation from Plaintiff’s
13     Counsel.
14             20.     On July 27, 2018, Plaintiff filed suit in the Eighth Judicial District Court, Clark
15     County, Nevada (“EJDC”), against Defendants GILL and BUDGET, setting forth causes of action
16     for 1) Negligence; 2) Negligence Per Se; 3) Vicarious Liability; and 4) Negligent Entrustment
17     (hereinafter “EJDC litigation”). See Exhibit 2, which by this reference is incorporated herein as
18     though set forth in full.
19             21.     Defendant BUDGET answered the Complaint in the EJDC litigation on August
20     20, 2018.
21             22.     Defendant GILL answered the Complaint in the EJDC litigation on August 31,
22     2018.
23             23.     Both Defendants BUDGET and GILL were represented by the same law firm in
24     the EJDC litigation.
25             24.     Although documents jointly produced to Plaintiff by Defendants BUDGET and
26     GILL on October 31, 2018 noted the ARMY as GILL’s employer, there was no representation
27     that GILL was in the course and scope of his employment with the ARMY at the time of the
28     subject accident.


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 1             25.     On March 27, 2019, for the first time, Defendant GILL averred that he was
 2     operating the BUDGET vehicle in the course and scope of his employment with the ARMY at
 3     the time of the subject accident. See Exhibit 3, which by this reference is incorporated herein as
 4     though set forth in full.
 5             26.     On March 27, 2019, consistent with USAA’s representations, Defendant GILL
 6     advised the rental company’s insurance carrier is responsible for covering Plaintiff’s claim in
 7     response to Plaintiff’s request for insurance information. Id.
 8             27.     On October 2, 2019, Defendants GILL and BUDGET moved for summary
 9     judgment and provided Plaintiff with a letter from Major Scott Katherman, Esq. dated September
10     19, 2018, in which he recommended the U.S. Attorney certify that Defendant GILL was acting
11     within the scope of his employment at the time of the accident and recommended the matter be
12     removed to the U.S. District Court in which the U.S. be substituted in for GILL. See Exhibit 4,
13     which by this reference is incorporated herein as though set forth in full.
14             28.     Defendants BUDGET and GILL jointly and intentionally withheld Maj.
15     Katherman’s letter for over a year prior to providing it to Plaintiff.
16             29.     At no point did Defendant GILL or his attorneys remove the underlying matter to
17     the U.S. District Court.
18             30.     In reliance on Maj. Katherman’s letter, the Honorable Judge Miley (Ret.)
19     dismissed Defendant GILL due to a lack of subject matter jurisdiction. See Exhibit 5, which by
20     this reference is incorporated herein as though set forth in full.
21             31.     On March 24, 2020, Plaintiff submitted a Form 95 serving it upon to the Judge
22     Advocate General of the United States Army at the United States Army and/or his representative.
23     See Exhibit 6, which by this reference is incorporated herein as though set forth in full.
24             32.     The ARMY denied Plaintiff’s administrative claim on January 11, 2021. See
25     Exhibit 7, which by this reference is incorporated herein as though set forth in full.
26             33.     That Defendants, in concert, intentionally concealed from Plaintiff that Defendant
27     GILL was in the course and scope of his employment with the ARMY at the time of the subject
28     accident, precluding Plaintiff from timely filing an administrative claim.


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 1                                        FIRST CAUSE OF ACTION
 2                                                Negligence
 3            34.     Plaintiff incorporates by reference all preceding paragraphs of this Complaint as
 4     though fully set forth herein.
 5            35.     That on or about August 02, 2016, the Plaintiff, JESSYCA M. GOODMAN
 6     GARCIA was operating her 2013 Chrysler 200 Touring automobile along and upon Cheyenne
 7     when she stopped for pedestrians before making a right turn onto Martin Luther King Jr. Blvd.
 8     Defendant, MICAH GILL, was operating a BUDGET rental minivan in a careless, negligent and
 9     reckless manner and did by his wrongful act or omission and negligence thereby strike and collide
10     with the vehicle in which the Plaintiff, JESSYCA M. GOODMAN GARCIA was driving
11     proximately causing the hereinafter described injuries and damages to Plaintiff, JESSYCA M.
12     GOODMAN GARCIA.
13            36.     That by reason of the premises and as a direct and proximate result of the
14     negligence of the Defendants, and each of them, Plaintiff, JESSYCA M. GOODMAN GARCIA,
15     was hurt and injured in health, strength, and activity, sustaining injury to her body and shock and
16     injury to her nervous system and person, all of which said injuries have caused, and continue to
17     cause Plaintiff, JESSYCA M. GOODMAN GARCIA, great mental and physical pain and
18     suffering, resulting in some permanent disability to the Plaintiff, JESSYCA M. GOODMAN
19     GARCIA, all to Plaintiff's general damages in an amount in excess of $75,000.00 as more
20     particularly described in the above-referenced Form 95 attached hereto and incorporated herein by
21     reference.
22            37.     That by reason of the premises and as a further direct and proximate result of the
23     negligence of the Defendants, and each of them, the Plaintiff, JESSYCA M. GOODMAN
24     GARCIA, was required to and did seek medical attention and care, and did incur medical expenses
25     in an amount at the present time unascertained, and Plaintiff, JESSYCA M. GOODMAN
26     GARCIA, will be required to seek further medical care, and incur further medical expense in an
27     amount at the present time unascertained, and therefore asks leave to prove, and if required by the
28


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 1     Court, to amend this Complaint to show the reasonable value of such medical care at the time of
 2     the trial.
 3              38.   That prior to the injuries complained of herein, Plaintiff, JESSYCA M.
 4     GOODMAN GARCIA, was an able-bodied person readily and gainfully employed and physically
 5     capable of engaging in all other activities for which each was otherwise suited; that as a direct
 6     and proximate result of the negligence, of said defendants, and each of them, said Plaintiff has
 7     been absent from her employment, continues to and shall continue to be limited in each of Plaintiffs
 8     activities and occupations, which resulted in a loss of earnings and a loss of earning capacity, all
 9     to her damage in an unknown amount to her at present time. Plaintiff asks leave of this Court to
10     insert said amount when the same shall be fully ascertained.
11              39.   That it has been necessary for Plaintiff, JESSYCA M. GOODMAN GARCIA, to
12     retain the services of an attorney to prosecute this action, and Plaintiff, JESSYCA M. GOODMAN
13     GARCIA, is therefore entitled to reasonable attorney's fees and costs herein.
14                                      SECOND CAUSE OF ACTION
15                                               Negligence Per Se
16              40.   Plaintiff incorporates by reference all preceding paragraphs of this Complaint as
17     though fully set forth herein.
18              41.   At all times mentioned herein, there were in force statutes, ordinances, and
19     regulations prohibiting the conduct exhibited by Defendants, and each of them, to wit: NRS
20     484B.127, NRS 484B.257, and NRS 484B.603.
21              42.   Plaintiff was a member of the class of persons for whose protection said statutes,
22     ordinances, and regulations were enacted or promulgated.
23              43.   Plaintiff sustained injuries that were the type said statutes, ordinances, and
24     regulations were intended to prevent.
25              44.   As a direct and proximate result of the Defendants, and each of their violations of
26     said statutes, ordinances, and regulations, Plaintiff sustained damages in excess of seventy-five
27     thousand dollars ($75,000.00).
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 1             45.     Plaintiff has been required to retain the services of an attorney to prosecute this
 2     action and is entitled to reasonable attorney’s fees and costs incurred herein.
 3                                      THIRD CAUSE OF ACTION
 4                                        Negligent Misrepresentation
 5             46.     Plaintiff repeats and realleges the allegations contained in the above paragraphs as
 6     though fully set forth herein.
 7             47.     Defendants GILL and BUDGET and/or DOE/ROE Defendants were participants
 8     in the EJDC litigation in which they had a pecuniary interest.
 9             48.     Defendants GILL and BUDGET and/or DOE/ROE Defendants made reckless or
10     negligent misrepresentations and negligently and/or recklessly concealed adverse information
11     when Defendants knew, or should have known, that GILL was in the course and scope of his
12     employment with the ARMY at the time of the subject accident.
13             49.     These negligent or reckless misrepresentations and/or negligent or reckless
14     failures to disclose were perpetuated directly and/or indirectly by Defendants.
15             50.     Defendants should have known through the exercise of due care that these
16     representations would lead to the deception of Plaintiff.
17             51.     Defendants made these false representations without the exercise of due care
18     knowing that it was reasonable and foreseeable that Plaintiff was unaware GILL was in the course
19     and scope of his employment with the ARMY at the time of the subject accident and would not
20     timely file an Administrative Claim with the ARMY.
21             52.     Plaintiff justifiably relied on and/or was induced by Defendants' negligent or
22     reckless misrepresentations and/or negligent or reckless failure to disclose and relied on the
23     absence of information regarding GILL’s status with the ARMY at the time of the subject
24     accident, which Defendants negligently or recklessly suppressed, concealed, or failed to disclose
25     to Plaintiff's detriment.
26             53.     Plaintiff justifiably relied upon negligent or reckless misrepresentations and/or
27     negligent or reckless failures to disclose by Defendants GILL and BUDGET and/or DOE/ROE
28     Defendants in filing her Complaint in the EJDC, as opposed to a timely Administrative Claim.


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 1             54.     Plaintiff sustained the dismissal of her EJDC Complaint as against GILL due to a
 2     lack of jurisdiction due to his employment status at the time of the subject accident, a fact of
 3     which Plaintiff was previously unaware.
 4             55.     Plaintiff suffered the denial of her Administrative Claim with the ARMY due to
 5     the passing of the Statute of Limitations, as Plaintiff relied upon the negligent or reckless
 6     misrepresentations and/or negligent or reckless failures to disclose by Defendants in not timely
 7     filing such claim.
 8             56.     As a direct and proximate result of the conduct of Defendants described
 9     hereinabove, Plaintiff sustained damages in excess of seventy-five thousand dollars ($75,000.00).
10             57.     Plaintiff has been required to retain the services of an attorney to prosecute this
11     action and is entitled to reasonable attorney’s fees and costs incurred herein.
12                                      FOURTH CAUSE OF ACTION
13                                Fraudulent Concealment and/or Omissions
14             58.     Plaintiffs repeat and reallege the allegations contained in the above paragraphs as
15     though fully set forth herein.
16             59.     Defendants GILL and BUDGET and/or DOE/ROE Defendants concealed or
17     suppressed information that GILL was in the course and scope of his employment with the ARMY
18     at the time of the subject accident.
19             60.     Defendants GILL and BUDGET and/or DOE/ROE Defendants did not reveal that
20     GILL was in the course and scope of his employment with the ARMY at the time of the subject
21     accident until March 27, 2019, over two years after the subject accident and after litigation was
22     filed in the EJDC.
23             61.     Defendants GILL and BUDGET and/or DOE/ROE Defendants had a duty to
24     disclose to Plaintiff this information at the time it received notice of Plaintiff’s claim, on or about
25     December 29, 2016, so that Plaintiff could timely file an Administrative Claim with the ARMY.
26             62.     The knowledge that GILL was in the course and scope of his employment with the
27     ARMY at the time of the subject accident was peculiarly within the knowledge of Defendants
28     GILL and BUDGET and/or DOE/ROE Defendants and not within the fair reach of the Plaintiff.


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 1          63.     Had Plaintiff been made aware GILL was within the course and scope of his
 2   employment with the ARMY at the time of the subject accident, she would have timely pursued
 3   an Administrative Claim with the ARMY.
 4          64.     Defendants GILL and BUDGET and/or DOE/ROE Defendants were in possession
 5   of a letter from Maj. Scott Katherman, Esq. dated September 19, 2018, in which he recommended
 6   the U.S. Attorney certify that GILL was within the course and scope of his employment with the
 7   ARMY at the time of the subject accident and recommended the matter be removed to the U.S.
 8   District Court, in which the U.S. would be substited in for GILL as a Defendant.
 9          65.     Defendants GILL and BUDGET and/or DOE/ROE Defendants had a duty to
10   disclose Maj. Katherman’s letter to Plaintiff in litigation pursuant to Nev. R. Civ. P. 16.1.
11          66.     At no point did Defendants GILL and BUDGET and/or DOE/ROE Defendants
12   remove the matter to the U.S. District Court or substitute the U.S. in place of GILL.
13          67.     Defendants GILL and BUDGET and/or DOE/ROE Defendants jointly and
14   intentionally withheld Maj. Katherman’s letter for over a year prior to providing it to Plaintiff,
15   with the intent of seeking dismissal of GILL from the EJDC litigation.
16          68.     As a result of the fraudulent concealment and/or omissions by Defendants GILL
17   and BUDGET and/or DOE/ROE Defendants, Plaintiff sustained damages, including the dismissal
18   of GILL from the EJDC litigation.
19          69.     Due to the concealment and/or omissions until well after the period for Plaintiff to
20   commence her Administrative Claim had elapsed, Defendants GILL and BUDGET and/or
21   DOE/ROE Defendants are estopped from relying on the statute of limitations and the Court
22   should deem the period for commencing the claim tolled.
23          70.     The actions of Defendants, and each of them, were sufficiently fraudulent,
24   malicious, and/or oppressive under NRS 42.005 to warrant an award of punitive damages. The
25   Defendants, and each of them, knew of the probable and harmful consequences of their
26   concealment, silence, or omissions, and intentionally and deliberately failed to act to avoid the
27   probable and harmful consequences.
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 1          71.      As a direct and proximate result of the conduct of Defendants described
 2   hereinabove, Plaintiff sustained damages in excess of seventy-five thousand dollars ($75,000.00).
 3          72.     Plaintiff has been required to retain the services of an attorney to prosecute this
 4   action and is entitled to reasonable attorney’s fees and costs incurred herein.
 5                                     FIFTH CAUSE OF ACTION
 6                                            Civil Conspiracy
 7          73.     Plaintiff repeats and realleges the allegations contained in the above paragraphs as
 8   though fully set forth herein.
 9          74.     Defendants, and each of them, through concerted action among themselves and
10   others, intended to accomplish the unlawful objective of withholding information for an improper
11   purpose.
12          75.     Defendants GILL and BUDGET and/or DOE/ROE Defendants had reason to
13   know of Plaintiff’s unawareness that GILL was operating the BUDGET vehicle while within the
14   course and scope of his employment with the ARMY at the time of the subject accident.
15          76.     Defendants GILL and BUDGET and/or DOE/ROE Defendants devised a plan to
16   knowingly commit wrongful acts for the purpose of precluding Plaintiff from timely filing an
17   Administrative Claim with the ARMY.
18          77.     Defendants GILL and BUDGET and/or DOE/ROE Defendants chose to
19   improperly withhold information, which they had a duty to disclose, from Plaintiff in an attempt
20   to harm Plaintiff.
21          78.     Defendants GILL and BUDGET and/or DOE/ROE Defendants, through concerted
22   action among themselves and others, intended to accomplish the foregoing unlawful objectives
23   through unlawful means and to cause damage to Plaintiff as herein alleged, including abusing the
24   process, causing unnecessary substantial expense, and to punish Plaintiff, among other wrongful
25   objectives to be determined at the time of trial.
26          79.     In taking the actions alleged herein, Defendants GILL and BUDGET and/or
27   DOE/ROE Defendants were acting for their own individual advantage.
28


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 1          80.     The actions of Defendants, and each of them, were sufficiently fraudulent,
 2   malicious, and/or oppressive under NRS 42.005 to warrant an award of punitive damages. The
 3   Defendants, and each of them, knew of the probable and harmful consequences of their
 4   concealment, silence, or omissions, and intentionally and deliberately failed to act to avoid the
 5   probable and harmful consequences.
 6          81.      As a direct and proximate result of the conduct of Defendants described
 7   hereinabove, Plaintiff sustained damages in excess of seventy-five thousand dollars ($75,000.00).
 8          82.     Plaintiff has been required to retain the services of an attorney to prosecute this
 9   action and is entitled to reasonable attorney’s fees and costs incurred herein.
10                                       PRAYER FOR RELIEF
11          WHEREFORE, Plaintiff prays for judgment as follows:
12          1.      For compensatory damages;
13          2.      For punitive damages in the amount deemed appropriate by this Court to punish
14                  them for their wrongful conduct and set an example to deter future misconduct;
15          3.      For special damages;
16          4.      For reasonable attorney’s fees;
17          5.      For costs of suit;
18          6.      For such other and further relief as this Court deems just and proper.
19          Dated this 8th day of July, 2021.
20                                                 CHRISTIANSEN TRIAL LAWYERS
21
                                                   By
22                                                      PETER S. CHRISTIANSEN, ESQ.
23                                                      R. TODD TERRY, ESQ.
                                                        KENDELEE L. WORKS, ESQ.
24                                                      WHITNEY J. BARRETT, ESQ.
                                                        Attorneys for Plaintiff
25
26
27
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      Exhibit “1”




      Exhibit “1”
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      Exhibit “2”




      Exhibit “2”
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                                                        Steven D. Grierson
                                                        CLERK OF THE COURT




                                                       A-18-778518-C

                                                       Department 23




                        Case Number: A-18-778518-C
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  WHITNEY J. BARRETT, ESQ and KEELY A. PERDUE, ESQ. of CHRISTIANSEN LAW

  OFFICES and for their causes of action against Defendants, and each of them, allege as follows:
                 ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

          1. At all times relevant hereto. Plaintiff, JESSYCA GOODMAN GARCIA, was and

  is a resident of Clark County, Nevada.

         2. At all times relevant hereto, upon information and belief. Defendant, MICAH

  GILL, was and is a resident of Clark County, Nevada.
         3. At all times relevant hereto, upon information and belief. Defendant, MALCO

  ENTERPRISES OF NEVADA, INC., A Domestic Corporation d^/a BUDGET CAR AND
  TRUCK RENTAL OF LAS VEGAS AND/OR d^/a BUDGET LAS VEGAS, was and is a

  company authorized to conduct business in Clark County, Nevada.
         4. That the true names and capacities, whether individual, corporate, agents,

  association or otherwise of the Defendants, DOES I through X and/or ROE BUSINESS

  ENTITIES XI through XX, inclusive, are unknown to Plaintiff, who therefore sues said

  Defendants by such fictitious names. Plaintiff is informed and believes, and thereupon alleges,
  that each of the Defendants designated herein as DOES and/or ROE BUSINESS ENTITIES are

  responsible in some manner for the events and happenings herein referred to, and in some manner

  proximately caused the injuries and damages thereby to the Plaintiff, as herein alleged; that the
  Plaintiff will ask leave of this Court to amend this Complaint to insert the true names and

  capacities of said Defendants, DOES I through X and/or ROE BUSINESS ENTITIES XI through

  XX, inclusive, when the same have been ascertained by the Plaintiff, together with appropriate

  charging allegations, and to join such Defendants in this action.
         5. Further, that the true names and capacities of the Defendants DOES I through X

  and/or ROE BUSINESS ENTITIES XI through XX are unknown to Plaintiff who, therefore, sues

  said Defendants by said fictitious names. Defendants designated as DOES I through X and/or

  ROE BUSINESS ENTITIES XI through XX, and each of them, are owners, operators, or

  individuals otherwise within possession and control of the motor vehicles herein mentioned

  and/or are individuals otherwise within the flow of traffic as related hereto.




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          6. On or about August 2,2016, Plaintiff JESSYCA GOODMAN GARCIA operating

  a 2013 Chrysler 200 Touring and was stopped for pedestrians in the right turn lane at the

  intersection of Cheyenne and Martin Luther King, Jr.

          7. On or about August 2, 2016, Defendant MIC AH GILL was operating a Budget

  Rent a Car (hereinafter the "Subject Vehicle") directly behind Plaintiffs vehicle. Defendant

  MIC AH GILL recklessly operated the subject vehicle by driving too fast for conditions and rear-

  ended the vehicle being operated by Plaintiff.

          8. That all the facts and circumstances that give rise to the subject lawsuit occurred

  in Clark County, Nevada.

                                       FIRST   CAUSE   OF   ACTION

                                               Negligence
          9. Plaintiff incorporates by this reference each and every allegation made in the

  preceding and ensuing paragraphs as if fully set forth herein.
          10. On or about August 2,2016, Defendants, and each of them, owed a duty to Plaintiff

  to operate the Subject Vehicle in a safe, reasonable and prudent manner by using due care so as

  to protect Plaintiff from injury.

          11. On or about August 2,2016, Defendants, and each of them, breached their duty to

  Plaintiff by negligently, carelessly, and recklessly operating the Subject Vehicle and causing a

  collision with Plaintiffs vehicle.

          12. As a direct and proximate result of the negligence of Defendants, and each of them.

  Plaintiff was seriously injured and caused to suffer great pain of body and mind, all or some of

  which may be permanent and disabling in nature, and all to her general and compensatory

  damages in an amount in excess of $15,000.00.
          13. As a further direct and proximate result of the negligence of Defendants, and each

  of them. Plaintiff has incurred expenses for medical care, treatment and expenses incidental

  thereto, and Plaintiff may be required in the future to incur expenses for medical care and
  treatment in an amount in excess of $15,000.00.




                                                   3
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          14. As a further direct and proximate result of the negligence of Defendant, Plaintiff

  sustained a loss of wages, past and future, and loss of future earnings in an amount in excess of

  $15,000.00.

          15. As a further direct and proximate result of the negligence of Defendants, and each

  of them. Plaintiff has suffered a loss of past and future household services in an amount in excess

  of $15,000.00.

          16. That as a direct and proximate result of the negligence of Defendants, and each of

  them. Plaintiff suffered great pain, disfigurement, mental anguish, loss of enjoyment of life and
  have been prevented from attending and participating in his usual activities and recreational

  endeavors in an amount in excess of $15,000.00.

          17. Plaintiff has been required to retain the services of an attorney to prosecute this

  action and is entitled to reasonable attorney's fees and costs incurred herein.

                                  SECOND      CAUSE    OF   ACTION

                                          Negligence Per Se
          18. Plaintiff incorporates by this reference each and every allegation made in the

  preceding and ensuing paragraphs as if fully set forth herein.
          19. At all times mentioned herein, there were in force statutes, ordinances, and

  regulations prohibiting the conduct exhibited by Defendants, and each of them, to wit: NRS
  484B.127, NRS 484B.257, and NRS 484B.603.

         20. Plaintiff was a member of the class of persons for whose protection said statutes,

  ordinances, and regulations were enacted or promulgated.
         21. Plaintiff sustained injuries that were the type said statutes, ordinances, and

  regulations were intended to prevent.
         22. As a direct and proximate result of the Defendants, and each of their violations of

  said statutes, ordinances, and regulations. Plaintiff sustained the damages alleged above.

         23. Plaintiff has been required to retain the services of an attorney to prosecute this
  action and is entitled to reasonable attorney's fees and costs incurred herein.




                                                   4
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  each of them, Plaintiff was caused to be hurt and sustain injury to her respective health, strength
  and well-being, sustain severe and permanent injury to body, and shock and injury to the nervous

  system and person, and pain and suffering, anxiety, and emotional distress, all of which have
  caused Plaintiff, and will continue to cause Plaintiff in the future, severe mental, physical, and

  nervous pain and suffering, and loss of enjoyment of life and have caused Plaintiff to suffer

  general damages in excess of $15,000.00.
          31. As a further actual and proximate result of the conduct of Defendants described

  herein. Plaintiff was required to, and did, employ physicians and other health care providers to

  examine, treat, and care for her and did incur medical and incidental expenses thereby. Plaintiff
  also suffered loss of income and household services, and in the future Plaintiff will lose income

  and/or earning capacity and household services. The exact amount of such expenses is unknown

  at present time, but Plaintiffs allege that they have suffered special damages in excess of

  $15,000.00.

          32. Plaintiff has been required to retain the services of an attorney to prosecute this

  action and is entitled to reasonable attorney's fees, interest, and costs of suit incurred herein.

                                  FOURTH      CAUSE      OF   ACTION

   Negligent Entrustment against Defendants Malco Enterprises of Nevada, Inc,, A Domestic
  Corporation d/b/a Budget Car and Truck Rental of Las Vegas and/or d/b/a Budget Las Vegas
                                 and DOE/ROE Defendants
          33. Plaintiff incorporates by this reference each and every allegation made in the

  preceding and ensuing paragraphs as if fully set forth herein.
          34. At all times relevant hereto, upon information and belief. Defendants MALCO

  ENTERPRISES OF NEVADA, INC., A Domestic Corporation cll)/a BUDGET CAR AND

  TRUCK RENTAL OF LAS VEGAS AND/OR dihldi BUDGET LAS VEGAS and DOE/ROE

  Defendants were the owners of the Subject Vehicle.

          35. Upon information and belief, on or about August 2, 2016, Defendants MALCO

  ENTERPRISES OF NEVADA, INC., A Domestic Corporation d/b/a BUDGET CAR AND

  TRUCK RENTAL OF LAS VEGAS AND/OR dJhf^i BUDGET LAS VEGAS and DOE/ROE

  Defendants entrusted Defendant MIC AH GILL to operate the Subject Vehicle.



                                                    6
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          36. Defendants MALCO ENTERPRISES OF NEVADA, INC., A Domestic

  Corporation d/b/a BUDGET CAR AND TRUCK RENTAL OF LAS VEGAS AND/OR d/b/a
  BUDGET LAS VEGAS and DOE/ROE Defendants knew or should have known Defendant

  MIC AH GILL would carelessly, recklessly and negligently operate the Subject Vehicle.

          37. As a direct and proximate result of Defendants', and each of them, negligent

  entrustment of Defendant MIC AH GILL, Plaintiff was caused to be hurt and sustain injury to her

  respective health, strength and well-being, sustain severe and permanent injury to body, and shock
  and injury to the nervous system and person, and pain and suffering, anxiety, and emotional

  distress, all of which have caused Plaintiff, and will continue to cause Plaintiff in the future,
  severe mental, physical, and nervous pain and suffering, and loss of enjoyment of life and have

  caused Plaintiff to suffer general damages in excess of $15,000.00.

          38. As a further actual and proximate result of the conduct of Defendants described

  hereinabove. Plaintiff was required to, and did, employ physicians and other health care providers
  to examine, treat, and care for her and did incur medical and incidental expenses thereby. Plaintiff

  also suffered loss of income and household services, and in the future Plaintiff will lose income
  and/or earning capacity and household services. The exact amount of such expenses is unknown

  at present time, but Plaintiffs allege that they have suffered special damages in excess of

  $15,000.00.

          39. Plaintiff has been required to retain the services of an attorney to prosecute this

  action and is entitled to reasonable attorney's fees, interest, and costs of suit incurred herein.

                                   DEMAND       FOR     JURY   TRIAL

          40. Demand is hereby made by Plaintiff for a trial by jury in the above-entitled action

  for all issues so triable.

                                       PRAYER      FOR    RELIEF


          WHEREFORE, Plaintiff prays judgment of this Court as follows:
          1. General damages in an amount in excess of $ 15,000.00;

          2. Special damages in an amount in excess of $ 15,000.00;

          3. Medical and incidental expenses incurred and to be incurred;



                                                    7
     Case 2:21-cv-01308-RFB-VCF Document 1 Filed 07/09/21 Page 24 of 66




 1           4. Damages for lost earnings and earning capacity, and tliture earning capacity;

 2           5. Damages for lost past and future household services;

 3           6. Damages for past and future pain, suffering, disfigurement, mental anguish, and

 4                  loss of enjoyment of life;

 5           7. Costs of suit, reasonable attorney fees, interest incurred herein; and for such other

 6                  and further relief as is just and proper.

 7           Dated thsi ^."fey of Juyl , 2018.
 8

 9

10                                                     PETER S. CHRISTIANSEN, ESQ.
                                                       R. TODD TERRY, ESQ.
11                                                     KENDELEE L. WORKS, ESQ.
                                                       WHITNEY J. BARRETT, ESQ.
12
                                                       KEELY A. PERDUE, ESQ.
13                                                     Attorneys for Plaintiff

14

15

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Case 2:21-cv-01308-RFB-VCF Document 1 Filed 07/09/21 Page 25 of 66



      Exhibit “3”




      Exhibit “3”
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                          Case Number: A-18-778518-C
Case 2:21-cv-01308-RFB-VCF Document 1 Filed 07/09/21 Page 27 of 66
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      Exhibit “4”




      Exhibit “4”
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                        STATE OF NEVADA OFFICE OF THE MILITARY
                           OFFICE OF THE STAFF JUDGE ADVOCATE
                                   2460 FAIRVIEW DRIVE
                                CARSON CITY, NEVADA 89701

BRIAN SANDOVAL                                                                            WILLIAM R. BURKS
   Governor                                                                               Brigadier General
                                          September 19, 2018                             The Adjutant General




      Major Scott F. Katherman, Esq.
      On behalf of First Lieutenant Micah L. Gill
      4500 W. Silverado Ranch Blvd
      Las Vegas, Nevada 89139

      Blaine Welsh, Assistant United States Attorney
      Chief, Civil Division
      District of Nevada
      501 Las Vegas Boulevard South, Suite 1100
      Las Vegas, Nevada 89101

      RE: Request for Certification, Substitution, and Removal – Clark County District
      Court


      Dear Mr. Welsh,

              On July 27, 2018, Defendant 1LT Micah L. Gill, a current member of the
      Nevada Army National Guard, was served a complaint in his personal capacity for
      injury resulting from a vehicle accident. At the time of the accident, 1LT Gill was
      driving from his place of duty during annual training, Joint Force Training Base Los
      Alamitos (JFTBLA), to McCarren Airport in Las Vegas, NV. We recommend the
      United States Attorney certify 1LT Gill was acting within the scope of his
      employment at the time of the accident. We also recommend the United States
      Attorney remove the matter to United States District Court, substitute the United
      States as the Defendant in his stead pursuant to 28 U.S.C. §2679(b)(1), 28 U.S.C.
      §2679(d), and AR 27-40, as well as move to dismiss the case.
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       On May 3, 2016, 1LT Gill received official orders to report for annual training,
pursuant to 32 U.S.C. 502(a)(2), beginning on July 22, 2016, and ending on August
5, 2016. 1LT Gill, along with other members of the 3/140th Aviation Regiment,
proceeded from their home station in Las Vegas, Nevada to JFTBLA in Los
Alamitos, California. They returned to their home station on August 2nd to complete
the last three days of annual training. 1LT Gill’s command authorized him a
government rental for official travel to and from his home station in North Las Vegas,
Nevada. He returned to his home station on August 2, 2016 with his unit. 1LT Gill
was required to return his rental car on August 2nd. Accordingly, he proceeded to
McCarran Airport Rental Car Facility from his home station to fulfill that
responsibility. In route to return his rental, 1LT Gill was involved in a vehicle
accident. The accident occurred around 2:15 p.m. on the corner of Martin Luther
King Blvd. and Cheyenne Ave. going eastbound. The location of the accident is on
the direct route between the two locations. 1LT Gill was not engaged in a frolic or
detour at the time of the accident.

       According to the Federal Tort Claims Act (FTCA), 28 U.S.C. §§1346(b), 2671-
2680 alongside the Federal Employees Liability Reform and Tort Compensation Act
of 1988, the United States is liable for tort claims in the same manner as a private
individual when common law tort claims arise from actions taken by Federal
employees acting within the scope of their employment. Whether an employee was
acting within the scope of their employment is a question of state law. Here, Nevada
law should apply. Nevada embraces the concept of respondeat superior – where an
employer is held liable for the negligent acts of its employees – as set forth in
Chapter 41 of Nevada Revised Statutes. Accordingly, respondeat superior applies
when an employee is under the control of the employer and acts within the scope of
the employee’s job duties.

       In 2003, the Nevada Supreme Court adopted the “coming and going rule”,
which maintains that the “tortious conduct of an employee in transit to or from the
place of employment will not expose the employer to liability, unless there is a
special errand that requires driving” (Kornton v. Conrad, Inc., 119 Nev. 123, 67 P.3d
316 (2003). In Bob Allyn Masonry v. Murphy, 124 Nev. 279, 183 P.3d 126 (2008),
the court ruled that injuries that are typically exempted from coverage on the ground,
that did not stem from the normal course of employment, are brought within the
scope of coverage if they occur while in transit to or from the performance of an
errand outside of the employee’s normal job responsibilities. In National
Convenience Stores v. Fantazzi, 94 Nev. 655, 584 P.2d 689 (1978), an employee
was involved in an accident while traveling to one of his employer’s stores to obtain
shelf measurements on his day off. These assigned tasks of necessity took him
away from his regular location of employment. The Court held there was sufficient
evidence for a jury to conclude the accident occurred during a special errand for the
employer.
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       1LT Gill was driving from his normal place of duty, located in North Las
Vegas, directly to the McCarran Airport Rental Car Facility in order to complete a
necessary task given to him by Nevada Army National Guard leadership. 1LT Gill
was acting in a State (Title 32) capacity during the time the accident occurred.
Although leaving the facility at his home duty station in a car is not typically included
in one of his job assignments, 1LT Gill was performing a special errand that required
driving. He did not commute to or from his place or residence to complete this
special duty. Returning the vehicle, once 1LT Gill was back at his home station, was
one of his employment obligations. We submit that 1LT Gill was acting within the
scope of his employment for the Army under Nevada law.

        The Westfall Act, 28 U.S.C. 2679, states that the “Attorney General shall
defend any civil action or proceeding brought in any court against any employee of
the Government…for [injury or loss of property, or personal injury or death arising or
resulting from the negligent or wrongful act or omission of [that] employee of the
Government while acting within the scope of his office or employment].”
Additionally, Army Regulation 27-40, paragraph 1-4, sets forth the DOJ’s
responsibility of “defend[ing] litigation in domestic and foreign courts, against the
United States, its agencies and instrumentalities, and employees whose official
conduct is involved.” Accordingly, the Plaintiff’s remedy is not against 1LT Gill, but
against the United States, under the FTCA. Thus, we request in accordance with AR
27-40, 28 U.S.C. §2679(d)(2), and 28 C.F.R. §15.3 that you certify that 1LT Gill was
acting within the scope of his employment during the period relevant to Plaintiff’s
causes of actions and move to dismiss 1LT Gill from the complaint and substitute
the United States as the Defendant in his place. So far as I am aware, the Plaintiff
has not filed an administrative claim. Therefore, we recommend you move to dismiss
the complaint.

       Should you require any additional assistance, please contact me.

My contact information is:

Major Scott F. Katherman
Brigade Legal Office
4500 West Silverado Ranch Blvd
Las Vegas, Nevada 89139
Tel. (702) 773-1828
scott.f.katherman.mil@mail.mil
                                                  Respectfully Submitted,
                                                  Scott F. Katherman, Esq.
                                                  Major, JA
                                                  17th S.Bde Judge Advocate


Attachment(s):
Affidavits from CPT Brauer and 1LT Gill
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      Exhibit “5”




      Exhibit “5”
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                                                                  CLARK COUNTY,NEVADA
                    3                                                             ****
                    4                                                                   )
                             JESSYCA GOODMAN GARCIA,                                )
                    5        an lndividual,                                         )
                                                                                        )
                    6                                    Plainti範               )
                    7                                                                   )
                             V。                                        )
                    8                                                                   )
                             MICAH GILL,an lndi宙             dual;MALCO             )         CASE NO.:A‑18‑778518‑C
                    9        ENTERPRISES OF NEVADA,INCo A                           )
                             Domestic Corporation d/b/aBUDGET                       )         DEPARTMENT XXHI
                  10
                             CAR AND TRUCK RENTAL OF LAS )
                  11         LAS VEGAS AND/ORd/b/a BUDGET )
                             LAS VEGAS;DOES Ithrough X,                             )
                  12         Inclusivc;and ROE BUSINESS ENTITIES)
                             XI through XX inclusive,           )
                  13                                                                    )     DECISION&ORDER
                  14
                                                         Defendants。          )
                                                             )
                                                         一




                   15
                                                                     L        INTRODUCTION
                   16
                                     This matter came before the Court on December 10, 2019 for Defendants Micah
                   171
                             Gill (Gill)   and Malco Enterprises of Nevada, Inc.'s (Malco) Motion for Summary
                   18
                   19        Judgment Pursuant to Nevada Rules of Civil Procedure Rule 56 (I.IRCP 56) and Nevada

                   20        Rule of Civil Procedure Rule 12 (NRCP 12). Defendants filed their Motion on October 2,

                   21        2019. Plaintiff Jessyca Goodman Garcia (Garcia) filed an Opposition on October 16,2019.
                   22
                             Defendants filed a Reply to Opposition on December 2,20t9.
                   23
                                     This Court heard oral argument at the December 10, 2019 hearing and took the
                   24
                             matter under further advisement to issue a written Decision and Order. Defendant Gill
                   25
                   26        argued that    Plaintiff   s Complaint must be dismissed pursuant to      NRCP 12(bX1) because

                   27        the federal court has exclusive jurisdiction. Further, Defendant Gill argued that PlaintifPs

                   28        Complaint must be dismissed pursuant to NRCP 12(b)(5) for failure to state a claim upon
 STEFANV A.MILEY
   DISTRICT」 UDGE

DEPARTMENT￢ ´′ENTY THREE
LAS VEGAS NV 89101‑2408



                                                                 Case Number: A-18-778518-C
                           Case 2:21-cv-01308-RFB-VCF Document 1 Filed 07/09/21 Page 50 of 66


                   1
                             which relief can be granted. Defendant Malco argued that Plaintiff s Complaint must be
                   2

                   3         dismissed pursuant to NRCP 56(a) because the Graves Amendment expressly precludes

                   4         holding a rental car company liable for the negligence of its renter. Having co.nsidered the

                   5         papers on   file and the relevant law, the Court enters the following Decision and Order on
                     6
                             Plaintiff Garcia's Motion for Summary Judgment against Defendants Malco and Gill.
                     7
                                                          il.    STATEMENT OF FACTS
                     8
                                    This case involves an automobile accident that occurred on August 2,2016.
                     9
                             Defendant Gill, returning a vehicle he rented from Defendant Malco, rear-ended Plaintiff
                  10
                  11         Garcia. Police arrived at the scene but did not complete a police report. A vehicle damage

                  12         incident report was done by Defendant Malco on the same day listing "DTS      -   Govemment

                  131        Insurance" as Defendant Gill's insurance company.
                  14
                                    Defendant Gill was in his Nevada Army National Guard Uniform at the time of the
                  15
                             accident. He was traveling from a Nevada Army National Guard training location to return
                  16
                             the vehicle pursuant to his military orders. He originally rented the vehicle from Defendant
                  17
                  18         Malco pursuant to his orders and was driving at the time of the accident in the course and

                   19        scope of his annual training orders.

                   20                Defendant Gill's personal insurer USAA advised Plaintiff s counsel that Defendant

                   21        Malco was the primary insurer for the loss. Defendant Gill informed Plaintiff that "he does
                   22
                             not have an insurance carrier that is covering this claim beyond Malco, the rental company
                   23
                             from which he rented the vehicle." On July 27,2018, Plaintiff filed a Complaint against
                   24
                             Defendants Gill and Malco setting forth the following causes of action: (1) Negligence, (2)
                     25
                     26      Negligence Per Se, (3) Vicarious Liability, and (4) Negligent Entrustment. Defendant

                     27      Malco filed its Answer on June 20,2018, and Defendant Gill filed his answer on August

                     28      31,2018.
 STEFANY A.‖ ILEV
    DISTRICT JUDGE

DEPARTMENT TWENTY THREE
LAS VECAS NV 89101‐ 2408
                            Case 2:21-cv-01308-RFB-VCF Document 1 Filed 07/09/21 Page 51 of 66


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                       2
                                                                   III.    DISCUSSION

                       3         A.     Legal Standard

                       4                One of the defenses a party may assert by motion is that the court lackq subject-

                       5      matter jurisdiction over the action. NRCP l2(bX1). Where the United States district courts

                       6
                              have exclusive jurisdiction over certain claims, this Court would lack subject-matter
                       7
                             jurisdiction to hear the claim in question. A motion to dismiss    a case under   this scenario
                       8
                              would be brought pursuant to NRCP 12(bX1).
                       9
                                        Under NRCP 12(bX5) a claim may be dismissed where the pleadings fail to state a
                  10
                   11         claim upon which relief can be granted. NRCP l2(bX5). When reviewing a motion to

                   12         dismiss pursuant to NRCP l2(bX5), the Court must construe the pleadings liberally and

                   13         draw every fair inference in favor of the non-moving party. Simpson v. Mars,       Inc.,Il3
                   141
                              Nev. 188, 190 (1997). If the Court determines "that the plaintiff could prove no set of facts
                   15
                              which, if accepted by the trier of fact, would entitle him or her to relief," then the motion
                   16
                              must be granted. Id.The trial court may dismiss the complaint only if it appears to a
                   17
                              certainty that a plaintiff can prove no set of facts, which would entitle him to relief, even
                   18
                   19         with all pled allegations being accepted    as true. See Bergmann v.   Boyce,l09 Nev. 670

                   20         (1ee3).

                   21                   Rule 56(a) of the Nevada Rules of Civil Procedure governs Motions for Summary
                   22
                              Judgment. NRCP 56(a). The pleadings, depositions, answers to interrogatories,
                       23
                              admissions, and affidavits, if any, that are properly before the court must demonstrate that
                       24
                              no genuine issue of material fact exists, and the moving party is entitled to judgment as a
                       25
                       26     matter of law. See Id.; Wood v. Safeway, 121 P.3d 1026 (Nev. 2005). A court must accept

                       27     the nonmoving party's properly supported factual allegations as true, and it must draw all

                       28
 STEFANV A.MILEY
    DISTRiCT」   UDGE
DEPARTMENT TWENTY THREE
LAS VEGAS NV 89101‐ 2408
                           Case 2:21-cv-01308-RFB-VCF Document 1 Filed 07/09/21 Page 52 of 66



                   1
                            reasonable inferences in the nonmoving party's favor. Michaels v. Sudeck, Sl0 P.2d 1212,
                   2
                             1213 (Nev. 1991).
                   3
                   4                In determining whether a fact is material, the court shall look to the substantive law

                   5        of the claims and only disputes over facts that might affect the outcome of the suit under

                   6        the governing law will properly preclude the entry of summary judgment. Wood,l21 P.3d
                   7
                            at 1030. Nevada courts no longer follow the "slightest doubt" standard that applied before
                   8
                             Wood; the courts follow the federal summary judgment standard. Id. at 1031, 1037.
                   9
                                B. Defendant Gill's Motion to Dismiss Pursuant          to NRCP 12(b) and NRCP 56
                 10
                  11                Congress enacted the Federal Tort Claims Act (FTCA) which grants United States

                  121        district courts exclusive jurisdiction over certain tort claims . Valadez-Lopez v. Chertoff,

                  13         656 F.3d 851, 855 (9th Cir. 2011) (quoting Jerves v. United States,966F.2d 517, 518 (9th

                  14         Cir. 1992)). The federal district courts have this exclusive jurisdiction when          a   tort claim
                  15
                             arises from the negligent act of a federal employee acting within the scope of his
                  16
                             employment or office. See 28 U.S.C. $ 1346(b)(1).
                  17
                                     As a prerequisite to filing suit, the FTCA mandates that no action may be instituted
                  18
                   19        until the claimant has exhausted all administrative remedies from the appropriate agency.

                   201       28 U.S.C. g 2675(a). Only after the agency has failed to make a final disposition of the

                   21        claim within six months may the claimant file an action with the federal court. Id.The
                   22
                             Supreme Court held that statute requires complete exhaustion of Executive remedies
                   23
                             before it may be heard by the federal courts. McNeil v. United States,508 U.S.                106,ll2'
                   24
                             13 (1993). The Ninth Circuit has also held that that administrative claim requirements
                   25
                             must be strictly adhered to because they are jurisdictional in nature . Brady v. United
                   26
                   27        States,2 1 1 F.3d 499, 502 (9th Cir. 2000); See also Jerves, 966   F   .2d at 521   .



                    28
 STEFANV A.MlLEY
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DEPARTMENT TWENTY THREE
LAS VEGAS NV 89101‐ 2408
                           Case 2:21-cv-01308-RFB-VCF Document 1 Filed 07/09/21 Page 53 of 66



                   1
                                    Here, Defendant Gill argued that this claim is ripe for dismissal under either NRCP
                   2

                   3         l2(bX1) or NRCP 12(b)(5). Gill argued that he was under annual training order from the

                   4         Nevada Army National Guard and attached the orders as exhibit B to his Motion to

                   5         Dismiss. This accident, Gill asserted, occurred within the permanent orders and authorized

                   6         vehicle rental period and thus the federal court had exclusive jurisdiction to hear this
                   7
                             claim. Further, because the accident occurred while Gill was driving from the Nevada
                   8
                             Army National Guard facility directly to the McCarran Airport Rental Car facility, he was
                   9
                             within the course and scope of his federal employment with the Nevada Army National
                 10
                  11         Guard. He also argued that Plaintiff knew or should have known that Gill was employed

                  12         by the Nevada Army National Guard at the time of the accident, and was within the course

                  13         and scope of his employment, because he was in his uniform at the time of the subject

                  14
                             accident. Based on these facts, Gill argued that the claims against him should be dismissed
                  15
                             pursuant to NRCP 12(bX1) because this Court lacked subject matter jurisdiction.
                  16
                                     Defendant Gill then argued that Plaintiff s failure to exhaust the available
                  17
                             administrative remedies means this case should be dismissed pursuant to NRCP 12(bX5)
                  18
                   19        for failing to state a claim upon which relief can be granted. Plaintiff failed to plead the

                   20        pursuit and exhaustion of the appropriate administrative claims, and without that, Gill

                   21        argued, the causes of action lack any relief this Court may grant.
                   22
                                     Plaintiff argued that the September 19, 2018 affidavit of Defendant Gill and the
                   23
                             September 19, 2018 letter to the U.S. Attorney's Office was the first information produced
                   24
                             to Plaintiff regarding the arguments found in Gill's instant Motion. Defendants were in
                   25
                   26        exclusive control of this information for over one year before filing the instant Motion.

                   27        The only information accessible to Plaintiff regarding Gill's employment is contained in

                   28        the Vehicle Damage Incident Report. That document simply lists the government as Gill's
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                   11
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                              employer. Plaintiff argued that the Attorney General never certified Gill's employment nor
                   2‐


                   3          did Defendant Gill petition the court to make a scope of employment certification, See

                   4          Osborn v. Haley, 127 S. Ct. 881, 894 (2007). Because Defendant Gill failed tq obtain

                    5         certification and remove the action, Plaintiff argued that dismissing Plaintiff s claims on
                    6
                              the grounds that this Court lacks subject matter jurisdiction would be improper.
                    7
                                     Further, Plaintiff argued that she could not have filed an administrative claim
                    8
                              because she did not possess the information needed concerning Defendant          Gill's statute   as
                    9
                              a federal employee prior to   filing her complaint. Plaintiff argued that   she had no reason to
                  10
                  11          know Gill was in the course and scope of his employment with the United States at the

                  12          time he caused the collision. She asserted that it would be unjust to dismiss her claims

                  13          when she only found out she needed to make an administrative claim at the time the
                  14
                              instant Motion was filed by the Defendants.
                  151
                                     In reply to Plaintiff s Opposition, Defendant Gill argued that Plaintiff cannot rely
                   16
                              on arguing that she was unaware of the need to pursue administrative remedies because
                   17
                              Gill was in uniform and documents disclosed in this     case clearly indicate that he was   in
                   18
                   19         course and scope of his federal employment. Further,     Gill argued that the "true legal issue

                   20         at hand in this present action" is not whether the United States should have intervened, but

                   21         rather it is whether the facts of the case constitute an immunity to civil suit. In other
                   22
                              words, the question before the Court should be whether Defendant Gill was a federal
                   23
                              employee who was acting within the course and scope of his employment at the time            of
                   24
                              the accident.
                   25
                   26                 Gill acknowledged that he could    have petitioned the Court to certify    Gill's

                   27         employment but instead filed the present motion for summary judgment based on the

                   28         uncontested facts indicating that Defendant Gill is within the course and scope of his
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                   1
                             federal employment and thereby immune from suit. Rather than seek certification, Gill
                   2
                             sought summary judgment because he argued that as a matter of law, no judgment can be
                   3
                   4         had against him based upon the facts and circumstances that are uncontested in this matter.

                   5         Here, Plaintiff failed to set forth specific facts demonstrating the existence of a genuine

                    6        factual issue and Defendant Gill requested this Court dismiss the case pursuant to NRCP
                    7
                             56
                    8
                                  C. Defendant Malco's Motion to Dismiss Pursuant to NRCP 56
                    9
                                     Congress enacted 49 U.S.C. $ 30106, commonly known as the Graves
                  10
                  11         Amendment, which precludes holding a rental car company liable for the negligence of its

                  12         renter. The state has both an express preemption clause and a savings clause. 49 U.S.C.       $

                  13         30106. Pursuant to the statute, an owner of a motor vehicle that rents or leases vehicles is

                  14         not liable for harm to other persons during the rental period if there is no negligence or
                  15
                             criminal wrongdoing on the part of the owner. 49 U.S.C. $ 30106(a).
                   16
                                     Defendant Malco argued that the Graves Amendment preempts state laws
                   17
                             imposing liability on rental vehicle owners unless there is a showing of negligence or
                   18
                   19        criminal wrongdoing on the part of the owner of the rental vehicle. Specifically, Malco

                   20        argued that NRS 482.305, the statute which    Plaintiff s claim is impliedly based, conflicts

                   21        with the Graves amendment and is thus preempted.      See Munoz v.   Branch Banking,l3l
                   22
                             Nev. Adv. Op. 23 (20 I 5 ) (holding that a state law is preempted and without effect if it
                   23
                             conflicts with federal law). Here, Malco was the owner of the vehicle that was rented by
                   24
                             Defendant Gill, the accident occurred during the rental period, and the vehicle was subject
                   25
                             to the terms of the agreement.
                   26
                   27                Malco next argued that NRS 482.305 is not a financial responsibility law and is not

                   28        preserved by the savings clause of 49 U.S.C. $ 30106. Malco noted that while the Graves
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                            Amendment excludes from preemption laws requiring proof of minimum levels of

                             insurance in order to register a rental vehicle with the DMV and operate the vehicle on the

                    4       roadways, as well as laws imposing liability on rental vehicle owners who failto meet a

                    5        state's minimum insurance requirements, it does not exclude preemption of vicarious

                    6
                             liability. NRS 482.305, Malco argued, is not a financial responsibility law, but rather       a

                    7
                             vicarious liability law. Thus, Plaintifls allegations rely solely on ownership and non-
                    8
                             existent negligent entrustment and are preempted by the Graves Amendment.
                    9
                                       Further, Malco argued that there is no evidence it engaged in any negligence of its
                  10

                  11         own, nor did it engage in any criminal wrongdoing relative to the accident. Also, Malco

                  12         noted that the lessor is not required to ensure that the lessee has his or her own insurance.

                  13         See   Hall v. Enterprise Leasing Company-West,l22 Nev. 685, 690 (2006). Malco argued
                  14
                             that no facts were provided that show Malco knew or should have known that Defendant
                   15
                             Gill's   use of the vehicle created an unreasonable risk of harm.   Gill's driver's license
                   161
                             number was listed on the rental agreement, which Malco argued shows it ensured Gill was
                   17
                             a licensed driver prior to the rental. Malco asserted that there simply are no facts to
                   18
                   19        support Plaintiff s claims against Defendant Malco.

                   20                  Plaintiff argued that NRS 485.305's requirement for companies like Malco to

                   21        provide minimum insurance coverage to its vehicle renters is consistent with the general
                   22
                             spirit of financial responsibility laws, favoring protecting crash victims to the extent
                   23
                             possible. Under Nevada law, Plaintiff asserted, a rental car company must provide and pay
                   24
                             at least the policy minimums required by law should there be an accident where no other
                   25
                    26       coverage exists.   Hall v. Enterprise Leasing Company-West,122 Nev. 685 (2006).

                    27                 Further, Plaintiff argued that there is a genuine issue of material fact regarding

                    28       whether Defendant Malco negligently rented the vehicle to Defendant Gill. Plaintiff noted
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                   1
                             that the rental agreement is completely silent regarding whether the vehicle was rented
                   2

                   3         with Malco's knowledge that Gill was an unsafe driver, whether any background check

                   4         was performed on him, or whether there was an investigation done regarding tris driver's

                   5         license status or driving record. Plaintiff argued that there are several documents that
                    6
                             Malco still needs to turn over in this case, including policies and procedures surrounding
                    7
                             the lease of its vehicles.
                    8
                                     Plaintiff also argued that Defendant Gill initially took the stance that Malco is
                    9
                             responsible for Plaintiff s loss when he affirmatively represented in discovery that he
                  10
                  11         "does not have an insurance carrier that is covering this claim beyond Malco, the rental

                  12         company from which he rented the vehicle." Plaintiff asserted that this position, also

                  13         shared by his insurance carrier USAA, falls squarely in line with the exception set forth    in
                  141
                             the Graves Amendment. Plaintiff ultimately argued that it would be improper to grant
                  15
                             summary judgment in favor of Defendant Malco at this time based on the outstanding
                   16
                             discovery and allow Plaintiff more time to conduct discovery.
                   17
                   18                COURT FINDS, Defendant Gill was in the course and scope of his employment

                   19        with the Nevada Army National Guard at the time of the accident. Gill presented this

                   20        Court with a copy of his permanent orders and he was in his Nevada Army National Guard
                   21        at the time of the accident.
                   22
                                     COURT FINDS, this Court lacks subject matter jurisdiction over Plaintiff      s   claims
                   23
                             against Defendant    Gill. While Defendant Gill did not seek certification of his employment
                   24
                             from this Court, based on the arguments from Defendant Gill and the submission of his
                   25
                   26        permanent orders, the federal district court has exclusive jurisdiction of PlaintifPs claims

                   27        against Defendant Gill pursuant to 28 U.S.C. S 1346(b)(l). Further, COURT FINDS,

                    28
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                   1
                             Plaintiffhas failed to exhaust her remedics with the Ncvada A■ 11ly National Guard and
                   2

                   3         thus no action can be instituted at this time pllrsuant to 28 UoSoC.§   2675(→   .




                   4                  Thcrefore,COURT ORDERS,Defcndants'NIIalco Enterp五 ses ofNcvOda,Inc.and

                    5        Micah Gill's Motion for Summary Judgmcnt Pursuantto NRCP 56(→              and NRCP 12(b)is
                    6
                             GRANTED without prgudicc towards Plaintiffs complaint against Defendant Micah Gill
                    7
                             pllrsuantto NRCP 12(b)(1).
                    8
                                      However,COURT FINDS,there is still a genuinc issue ofmate五 al fact regarding
                    9
                             the complaint against NIlalco Enterp五 ses ofNcvada,Inco Plaintiff is still secking ongoing
                  10
                  11         discovery in this inatter and itis premature at this tiine to dislniss the complaint under 49

                  12         UoSoC。   §30106.
                  13                  Therefore,COURT ORDERS,Defendants'NIlalco Entcrprises ofNevada,Inc.and
                  141
                             Micah Gill's Motion for Sunlmary Judgmcnt Pursuantto NRCP 56(→ and NRCP 12(b)is
                  15
                             DENIED towards PlaintinPs complaint against Defendant         Ⅳ[alco.
                   16
                                      Itis so ORDEttD。
                   17
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                                                                  IV.     ORDER

                   3                For the foregoing reasons, COURT HEREBY ORDERS, Defendants' Malco

                   4         Enterprises of Nevada, Inc. and Micah Gill's Motion for Summary Judgment lursuant to

                    5        NRCP 56(a) and NRCP 12(b) against Plaintiff is GRANTED as to the claims against

                    6        Defendant Micah Gill and DENIED as to the claims against Defendant Malco Enterprises
                    7
                             ofNevada,Inc..
                    8
                    9
                             Dated thisユ      day Of January,2020。
                  10
                  11

                  12
                                                                                                 NY A.
                  13                                                      DIS                T JUDGE
                  14

                  15                                      CERTIFICATE OF SERVICE
                   16           I  hereby certify that on or about the date signed, a copy of this Decision and
                             Order was electronically served and/or placed in the attorney's folders maintained
                   17        by the Clerk of the Court and/or transmitted via facsimile and/or mailed, postage
                             prepaid, by United States mail to the proper parties as follows: George M. Ranalli,
                   18                                                                  ., R. Todd Terry, Esq., and
                             Esq., Gregory S. Caruso, Esq., Peter S. Christi
                   19        Whitney J. Barrett, Esq.

                   20
                   21                                                     Carmen Alper
                                                                          Judicial Executive Assistant
                   22                                                     Department XXIII
                   23
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      Exhibit “6”




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      Exhibit “7”




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